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                  FOOD AND DRUG ADMINISTRATION (FDA)

           CENTER FOR DEVICES AND RADIOLOGICAL HEALTH (CDRH)




                      IN VITRO DIAGNOSTIC TESTING

                    FOR DIRECT ORAL ANTICOAGULANTS




                        Monday, October 26, 2015




                         FDA White Oak Campus

                      10903 New Hampshire Avenue

                      Bldg. 31, Great Room A (W031)

                         Silver Spring, MD 20993




                       Reported by: Michael Farkas

                        Capital Reporting Company



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the afternoon.

                 The review of premarket notifications and subsequent determination of

substantial equivalence is performed in the context of the proposed intended use. The

intended use specifies what the test measures, why the test is being performed and the testing

population and setting for the testing. Listed are some of the elements to be addressed in the

intended use. Typically, the intended use and the indication for use are combined for in vitro

diagnostics and sets the foundation for the validation studies to be performed to support the

crafted intended use.

                 So what are some of the studies necessary to evaluate the performance

characteristics of the devices’ intended use? We need to review the analytical performance

characteristics and also we’d like to see method comparison utilizing clinical samples and that is

compared to a predicate or a reference method, sometimes both. The performance data

needed for the review is based on the device output and the interpretation of that result. So

the premise of today’s workshop is based on the preliminary information we have reviewed for

measurement of or assessment of DOACs, some of the submissions we’ve seen thus far. And

that is the reason that we are conducting this workshop, to get more input and feedback on

those approaches.

                 Importantly, the DOAC drugs were approved without a requirement for

monitoring. So currently, manufacturers are developing devices to assess the effect or

concentration of direct oral anticoagulants. There are currently no cleared or approved devices

that measure that. And the goal is we want to ensure that we enable timely access to safe,

effective and high-quality medical devices. The objectives that we’re going over today are

designed to optimize and improve patient outcomes. That’s the mission of the agency.

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               So during this workshop, we will identify clinical circumstances and conditions

for testing of DOACs, anticoagulant activity or concentration would be relevant, [and] the

clinically meaningful interpretation of coagulation testing results for patients who are receiving

DOACs. And we would also like to have an overview of the regulatory requirements for

clearance of IVDs intended for coagulation testing in patients who are receiving DOACs. So

we’ll talk a little bit now about FDA outreach to aid in shaping our regulatory process. We

would like to solicit the feedback and, in particular, we have an interest in who should be tested

and how the device output is to be clinically interpreted. What clinical evidence is going to be

needed? The analytical performance requirements that would be acceptable and the

considerations for future development of these types of devices?

               So this is my final slide to conclude. And this is something that we encourage

manufacturers in particular to do and that is interact with the FDA early and often. And you can

do that through our pre-submission process. It is free of charge and we are happy to provide

you with feedback on your clinical study design and any studies that you’re proposing, including

giving you feedback on your intended use. We want to make sure that your proposed study

supports the claim that you plan to pursue. And we are happy to discuss any regulatory

strategy and your study design.

               So with that, we anticipate a productive and informative meeting today and

hopefully there will be plenty of fruitful discussion so that we can ensure access to safe and

effective tools for treatment and measurement of DOACs. Thank you. Enjoy the conference

today.

               [Applause.]

               DR. DOLLINS: Okay. Now, I want to introduce our first -- our next speaker. Our

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